   Case 19-32528-MBK                         Doc 8 Filed 12/05/19 Entered 12/06/19 00:36:56                                          Desc Imaged
                                                 Certificate of Notice Page 1 of 5
 Information to identify the case:

 Debtor 1:
                       George Sariotis                                                  Social Security number or ITIN:    xxx−xx−3126
                                                                                        EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name    Last Name

 Debtor 2:                                                                              Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)                                                                    EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:        District of New Jersey                          Date case filed for chapter:          11      12/2/19

            19−32528−MBK
 Case number:

Official Form 309E (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/15

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's correct address, resend the
returned notice, and notify this office of the party's change of address. Failure to provide all parties with a copy of this notice may adversely
affect the debtor as provided by the Bankruptcy Code.


                                                  About Debtor 1:                                           About Debtor 2:
 1. Debtor's full name                            George Sariotis

 2. All other names used in the
    last 8 years

 3. Address                                       1801 Pitney St
                                                  Oakhurst, NJ 07755−2840

                                                  Timothy P. Neumann
 4. Debtor's attorney                             Broege, Neumann, Fischer & Shaver                       Contact phone 732−223−8484
       Name and address                           25 Abe Voorhees Drive
                                                  Manasquan, NJ 08736

 5. Bankruptcy clerk's office                                                                             Hours open: 8:30 AM − 4:00 p.m., Monday −
                                                  402 East State Street                                   Friday (except holidays)
       Documents in this case may be filed        Trenton, NJ 08608
       at this address.                           Additional information may be available at the
       You may inspect all records filed in                                                               Contact phone 609−858−9333
                                                  Court's Web Site:
       this case at this office or online at
       www.pacer.gov.(800) 676−6856               www.njb.uscourts.gov.                                   Date: 12/3/19



                                                                                                           For more information, see page 2 >




Official Form 309E (For Individuals or Joint Debtors)                    Notice of Chapter 11 Bankruptcy Case                                         page 1
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Debtor George Sariotis                                                                                                      Case number 19−32528−MBK

6. Meeting of creditors
   Debtors must attend the meeting
   to be questioned under oath. In a
   joint case, both spouses must
   attend.                                 January 16, 2020 at 01:00 PM                                     Location:
   Creditors may attend, but are not                                                                        Clarkson S. Fisher Federal
   required to do so.                      The meeting may be continued or adjourned to a later             Courthouse, 402 East State Street,
   All individual debtors must provide     date. If so, the date will be on the court docket.
   picture identification and proof of                                                                      Room 129, Trenton, NJ 08608−1507
   social security number to the trustee
   at the meeting of creditors. Failure to
   do so may result in your case being
   dismissed.

7. Deadlines                       File by the deadline to object to discharge or to challenge                          First date set for hearing on
   The bankruptcy clerk's office   whether certain debts are dischargeable:                                             confirmation of plan. The court will
   must receive these                                                                                                   send you a notice of that date later.
   documents and any required
   filing fee by the following     You must file a complaint:                                                           Filing deadline for
   deadlines.                                                                                                           dischargeability complaints:
                                           •   if you assert that the debtor is not entitled to receive a discharge
                                               of any debts under 11 U.S.C. § 1141(d)(3) or                             3/16/20
                                           •   if you want to have a debt excepted from discharge under 11
                                               U.S.C. § 523(a)(2), (4), or (6).


                                   Deadline for filing proof of claim:                                                  2/10/20 For a governmental unit:
                                                                                                                        6/1/20
                                   A proof of claim is a signed statement describing a creditor's claim. A proof
                                   of claim form ("Official Form 410") may be obtained at www.uscourts.gov or
                                   any bankruptcy clerk's office. You may also contact the Clerk's Office where
                                   this case is pending to request that a Proof of Claim form be mailed to you.
                                   The Clerk's Office telephone number is included on the front of this Notice.

                                   Your claim will be allowed in the amount scheduled unless:

                                           • you
                                             your claim is designated as disputed, contingent, or unliquidated;
                                           • you file a proof of claim in a different amount; or
                                           •     receive another notice.

                                   If your claim is not scheduled or if your claim is designated as disputed,
                                   contingent, or unliquidated, you must file a proof of claim or you might not be
                                   paid on your claim and you might be unable to vote on a plan. You may file a
                                   proof of claim even if your claim is scheduled.

                                   You may review the schedules at the bankruptcy clerk's office or online at
                                   www.pacer.gov.

                                   Secured creditors retain rights in their collateral regardless of whether they
                                   file a proof of claim. Filing a proof of claim submits a creditor to the
                                   jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                   For example, a secured creditor who files a proof of claim may surrender
                                   important nonmonetary rights, including the right to a jury trial.


                                   Deadline to object to exemptions:                                                    Filing Deadline:
                                   The law permits debtors to keep certain property as exempt. If you believe           30 days after the conclusion of the
                                   that the law does not authorize an exemption claimed, you may file an                meeting of creditors
                                   objection.

                                           If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
8. Creditors
   address
             with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.

                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
9. Filing a Chapter 11
   bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                           is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                           business.

10. Discharge of debts                     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                           See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                           all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                           from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
                                           should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and
                                           pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                           entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                           the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                           send you another notice telling you of that date.

                                           WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                           ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
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                                            CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.

                                            The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                            distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                        as exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                            believe that the law does not authorize an exemption that the debtors claim, you may file an objection. The
                                            bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.

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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-32528-MBK
George Sariotis                                                                                            Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 2                          Date Rcvd: Dec 03, 2019
                                      Form ID: 309E                      Total Noticed: 29


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 05, 2019.
db              George Sariotis,    1801 Pitney St,    Oakhurst, NJ 07755-2840
518598847       Aluma Systems Concrete,    PO Box 91473,    Chicago, IL 60693-1473
518598848       American Builders,    1 American Way,    Walden, NY 12586-2821
518598854      +Hudson Law Offices, PC,    For Aluma Systems Concrete,     900 Route 168 Ste C-2,
                 Turnersville, NJ 08012-3206
518598855       Jaeger Lumber and Supp Ly Co Inc,     1835 Swarthmore Ave,    Lakewood, NJ 08701-4533
518598856      +Joseph Fazio Wall L Lc,    5001 Routes 33 & 34,    Farmingdale, NJ 07727-3621
518598858       Kathleen R. Wall, Esq.,    Atty for Joseph Fazzio-Wall LLC,     PO Box A,
                 Manasquan, NJ 08736-0631
518598859       Marvel & Maloney,    Attys for Woodhaven Lumber,    PO Box 727,    Neptune, NJ 07754-0727
518598860       Mellinger Sanders Kartzman LLC,     101 Gibraltar Dr Ste 2F,    Morris Plains, NJ 07950-1287
518598861       Meyner & Landis,    1 Gateway Ctr Fl 25,    Newark, NJ 07102-5320
518598863       NJ Attorney General,    Division of Law Richard J Hughes Justice,     25 Market St,
                 Trenton, NJ 08611-2148
518598862       Nissan-Infiniti Lt,    PO Box 660366,    Dallas, TX 75266-0366
518598865       State of New jersey,    Div of Taxation Bk Se P O,    PO Box 245,    Trenton, NJ 08602-0245
518598866       State of Nj Student As,    4 Quakerbridge Plz,    Trenton, NJ 08619-1241
518598868      #Two River Community Bank,    1250 State Route 35,    Middletown, NJ 07748-2013
518598870       Woodhaven Lumber & Millwork,    200 James St,    Lakewood, NJ 08701-4103

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: timothy.neumann25@gmail.com Dec 04 2019 00:17:26        Timothy P. Neumann,
                 Broege, Neumann, Fischer & Shaver,    25 Abe Voorhees Drive,     Manasquan, NJ 08736
smg             EDI: IRS.COM Dec 04 2019 04:38:00      Dist Dir of IRS,     Insolvency Function,    PO Box 724,
                 Springfield, NJ 07081-0724
smg             E-mail/Text: usanj.njbankr@usdoj.gov Dec 04 2019 00:18:57        U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Dec 04 2019 00:18:52        United States Trustee,
                 Office of the United States Trustee,     1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518598849       EDI: AMEREXPR.COM Dec 04 2019 04:38:00       Amex,    PO Box 981537,   El Paso, TX 79998-1537
518598850      +E-mail/Text: bk@avant.com Dec 04 2019 00:19:50        Avant LLC/Web Bank,   222 N La Salle St,
                 Chicago, IL 60601-1101
518598852       E-mail/Text: bankruptcy@usecapital.com Dec 04 2019 00:20:14        Capital Accounts,
                 Attn Bankruptcy Dept,    PO Box 140065,    Nashville, TN 37214-0065
518598851       E-mail/Text: bankruptcy@usecapital.com Dec 04 2019 00:20:14        Capital Accounts,
                 PO Box 140065,   Nashville, TN 37214-0065
518598853       EDI: DISCOVER.COM Dec 04 2019 04:38:00       Discover Fin Svcs LLC,    PO Box 15316,
                 Wilmington, DE 19850-5316
518598857       EDI: CHASE.COM Dec 04 2019 04:38:00       Jpmcb Card,    PO Box 15369,
                 Wilmington, DE 19850-5369
518598864       E-mail/Text: bkteam@selenefinance.com Dec 04 2019 00:18:04        Selene Finance Lp,
                 9990 Richmond Ave,    Houston, TX 77042-4559
518598867       E-mail/Text: tcm.bk@icba.tcmbank.com Dec 04 2019 00:19:46        Tcm Bank NA,    PO Box 31481,
                 Tampa, FL 33631-3481
518598869       EDI: WFFC.COM Dec 04 2019 04:38:00       Wells Fargo,    Attn Bankruptcy,
                 1 Home Campus # MACX2303-01A,    Des Moines, IA 50328-0001
                                                                                                TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 05, 2019                                             Signature: /s/Joseph Speetjens
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District/off: 0312-3         User: admin                 Page 2 of 2                   Date Rcvd: Dec 03, 2019
                             Form ID: 309E               Total Noticed: 29

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 3, 2019 at the address(es) listed below:
              Timothy P. Neumann   on behalf of Debtor George Sariotis timothy.neumann25@gmail.com,
               btassillo@aol.com;geoff.neumann@bnfsbankruptcy.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
